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 6                    UNITED STATES DISTRICT COURT
 7          CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
 8
        STEPHEN COLQUETTE,                         Case No.: CV 09-08349 JST (AJWx)
 9
                                                   Honorable Josephine Stanton Tucker
10                  Plaintiff,
                                                    XXXXXXXXXXX
                                                     ORDER RE
11                                                 STIPULATION OF DISMISSAL
             V S.
12
       CITY OF HAWTHORNE, a                        [FRCP Rule 41(a)(1)(A)(ii)]
13     municipality; HAWTHORNE POLICE
14     DEPARTMENT; MICHAEL
15     HEFFNER, individually; and DOES 1
       THROUGH 10 inclusive,
16
17                  Defendants.

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19           The Court has reviewed the parties fully executed Stipulation for Dismissal.
20     Based upon a review of the record and good cause appearing, IT IS HEREBY
21     ORDERED that this action is dismissed in its entirety with prejudice. Each Party
22     shall bear their own attorneys' fees and costs, except as provided in the agreement.
23      IT IS SO ORDERED.
24
25     Dated: April 1, 2011                   JOSEPHINE STATON TUCKER
26                                                              x Tucker
                                              Hon. Josephine Stanton
                                              District Court Judge
27
28




                                        [PROPOSED] ORDER
